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                                        UNITED STATES DISTRICT COURT

                                  NORTHERN DISTRICT OF CALIFORNIA

                                          SAN FRANCISCO DIVISION



BRYON JACKSON,                                       )   Case No. 3:21-cv-08458-LB
                                                     )
     Plaintiff,                                      )
                                                     )   MANUAL FILING NOTICE OF
v.                                                   )   EXHIBIT P TO PLAINTIFF’S MOTION
                                                     )   IN LIMINE #4
                                                     )
TARGET CORPORATION,                                  )
                                                     )
     Defendant.                                      )   Judge:    Hon. Laurel Beeler
                                                     )
_________________________________________            )
           Case 3:21-cv-08458-LB Document 120-5 Filed 01/25/24 Page 2 of 2


                                        MANUAL FILING NOTIFICATION

 Regarding: __EXHIBIT P to PLAINTIFF’S MOTION IN LIMINE NO. 4 TO EXCLUDE VIMEO VIDEO___

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 ____     Other (please describe):



 Date:   January 25, 2024                                   Respectfully submitted,
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                                                     MANUAL FILING NOTICE OF EXHIBIT P TO PLAINTIFF’S
                                                      MOTION IN LIMINE #4 TO EXCLUDE THE VIMEO VIDEO
